Case: 1:25-cv-05846 Document #: 12-9 Filed: 06/04/25 Page 1 of 3 PageID #:297




                      Exhibit 7
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Request for Immediate Withdrawal of Amazon Complaint No. 17735329741 Concerning
ASIN B0DD32WPRH
发件⼈   Hongchang DENG

收件⼈   595507929

抄送⼈   易伊律师

时间    2025年05⽉24⽇ 周六 01:12



Dear SCAN2CAD INC.,

We represent Kaiher-US (our “Client”) in connection with your Amazon Design Patent
Complaint No. 17735329741 concerning the product sold under ASIN B0DD32WPRH, titled:

“Hugener 3 in 1 Starlink Mini Cable 10FT/3M, High-Speed USB C/Car Charger/DC to DC
Replacement Cable for Starlink Mini Power, Waterproof Extension Power Cable Accessories.”

We were informed that your complaint, based on U.S. Design Patent No. D1063856, has
resulted in the removal of our Client’s product listing from Amazon.

After conducting a detailed investigation, we conclude that our Client’s product does not
infringe the D1063856 design patent. Furthermore, we have identified substantial prior art
that clearly predates both the priority date of D1063856 and those of its continuation-in-
part parent applications (D1053826 and D1035585). In particular, the SpaceX Starlink Gen 3
product line—visually indistinguishable from the claimed design—was publicly disclosed and
widely distributed at least as early as August 2023, several months before the earliest
priority date of your patent family.

The D856 patent and its related CIP applications appear to lack novelty and originality, and
we have strong reason to believe they are invalid under 35 U.S.C. §§ 102 and 103. Moreover,
our Client’s product exhibits substantial design differences, and even if the patents were
valid, the product would not infringe under the ordinary observer test.

Accordingly, we formally and urgently request that you:
1. Immediately withdraw Amazon Complaint No. 17735329741; and
2. Provide written confirmation that you will not file further complaints against Kaiher-US
based on the D1063856 patent family.

Our Client has suffered substantial harm due to the improper takedown and continues to
incur losses. If we do not receive your confirmation and withdrawal by May 26, 2025, we
reserve the right to pursue legal action to challenge the validity of the asserted patent(s),
seek compensatory damages, and obtain reinstatement of our Client’s listing through all
available legal and procedural channels.

We urge you to give this matter your prompt attention and respond within the requested
timeline.


————————————————
Hongchang DENG (Richard DENG)
He/Him/His
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————
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